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Conflicts Counsel to the Debtor and Debtor-in-
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re

 SVB FINANCIAL GROUP, 1                                             Chapter 11
                                                                    Case No. 23-10367 (MG)
                     Debtor.


         NOTICE OF ADJOURNMENT OF HEARING ON DEBTOR’S APPLICATION
           FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION AND
                 EMPLOYMENT OF HURON CONSULTING SERVICES
             AS FINANCIAL ADVISOR EFFECTIVE AS OF AUGUST 30, 2023

            On October 6, 2023, SVB Financial Group, as debtor and debtor-in-possession (the

 “Debtor”), filed the Debtor’s Application for an Order Authorizing the Retention and Employment

 of Huron Consulting Services as Financial Advisor to the Debtor and Debtor-in-Possession

 Effective as of August 30, 2023 (the “Application”) [Dkt. 591].

            A hearing on the Application was previously scheduled to be heard before the Honorable

 Martin Glenn, United States Bankruptcy Court for the Southern District of New York (the “Court”)

 on October 31, 2023 at 2:00 p.m. (Eastern Daylight Time).



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     The last four digits of SVB Financial Group’s tax identification number are 2278.
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       With the permission of the Court, the hearing on the relief requested in the Application has

been adjourned to the omnibus hearing on November 29, 2023 at 10:00 a.m. (Eastern Standard

Time) (the “Hearing”). The Hearing will take place in a hybrid fashion both in person and via

Zoom for Government. Those wishing to participate in the Hearing in person may appear before

the Honorable Martin Glenn, Chief United States Bankruptcy Judge, in the United States

Bankruptcy Court for the Southern District of New York, in Courtroom No. 523, located at One

Bowling Green, New York, New York 10004-1408. Members of the public, including media, must

attend in the courtroom to observe live testimony. For case participants wishing to participate

remotely, in accordance with General Order M-543 dated March 20, 2020, the Hearing will be

conducted remotely using Zoom for Government. Parties wishing to appear at the Hearing,

whether making a “live” or “listen only” appearance before the Court, need to make an electronic

appearance      (an      “eCourtAppearance”)          through       the      Court’s      website        at

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl. When making an eCourtAppearance,

parties must specify whether they are making a “live” or “listen only” appearance. Electronic

appearances (eCourtAppearances) need to be made by November 28, 2023 at 4:00 p.m. (Eastern

Standard Time).

       Copies    of    the   Application   may     be    obtained     from     the     Court’s   website,

https://ecf.nysb.uscourts.gov, for a nominal fee, or obtained free of charge by accessing the website

of the Debtor’s claims and noticing agent, Kroll Inc., at https://restructuring.ra.kroll.com/svbfg/.

                                     (Signature page follows.)




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Dated: October 26, 2023
       New York, New York

                                       Respectfully submitted,

                                       JENNER & BLOCK LLP

                                       By: /s/ Vincent E. Lazar
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